                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 RowVaughn Wells,

                        Plaintiff,                   Case No. 2:23-CV-02224

        v.                                           JURY DEMAND

 The City of Memphis et al.,

                        Defendants.


             JOINT STATUS REPORT REGARDING MEDIATOR SELECTION

       The Parties, by and through their undersigned counsel, jointly submit the following status

report regarding their efforts to select a mediator for this case and requesting the Court’s guidance

because the Parties are at impasse.

       1.      At the January 3, 2025 status hearing, the Court ordered the Parties to confer and

select a new mediator by February 18, 2025, with the Court making the selection if the Parties are

unable to reach agreement. ECF 291 at 36-37; ECF 276 at 2.

       2.      On February 5, 2025, Plaintiff initiated discussions regarding potential mediators.

Since then, counsel for the Parties have conferred over email and by phone on multiple occasions.

Despite their efforts, the Parties have been unable to reach agreement on a mediator.

       3.      Given that the Parties are at impasse, the Plaintiff and the City of Memphis wish to

submit respective lists of no more than three proposed mediators each for the Court to consider

and make a selection. The Parties respectfully request that the Court advise the Parties of its

preferences for the submission of proposed mediators, including whether the submissions should

be made on the Court’s public docket or via email to the Court.




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Dated: February 18, 2025


Respectfully submitted,


s/ Bruce McMullen                               /s/ Antonio M. Romanucci
BAKER, DONELSON, BEARMAN,                       Antonio M. Romanucci (Ill. Bar No. 6190290)
CALDWELL & BERKOWITZ, P.C.                      Bhavani K. Raveendran (Ill. Bar No. 6309968)
Bruce McMullen (#18126)                         Sarah Raisch (Ill. Bar No. 6305374)
Jennie Vee Silk (#35319)                        Joshua M. Levin (Ill. Bar No. 6320993)
Freeman B. Foster (#23265)                      Stephen H. Weil (Ill. Bar No. 6291026)
165 Madison Avenue, Suite 2000                  Sam Harton (Ill. Bar No. 6342112)
Memphis, Tennessee 38103                        ROMANUCCI & BLANDIN, LLC
Telephone: (901) 526-2000                       321 N. Clark St., Ste. 900
bmcmullen@bakerdonelson.com                     Chicago, IL 60654
jsilk@bakerdonelson.com                         P: (312) 458-1000
ffoster@bakerdonelson.com                       aromanucci@rblaw.net
                                                b.raveendran@rblaw.net
Attorneys for Defendant City of Memphis,        sraisch@rblaw.net
Chief Cerelyn Davis, and                        jlevin@rblaw.net
Dewayne Smith as Agent of the City of Memphis   sweil@rblaw.net
                                                sharton@rblaw.net

                                                David L. Mendelson (Tenn. Bar No. 016812)
                                                MENDELSON LAW FIRM
                                                799 Estate Place
                                                Memphis, TN 38187
                                                +1 (901) 763-2500 (ext. 103), Telephone
                                                +1 (901) 763-2525, Facsimile
                                                dm@mendelsonfirm.com

                                                Brooke Cluse (Tex. Bar No. 24123034) (pro
                                                hac vice pending)
                                                BEN CRUMP LAW, PLLC
                                                717 D Street N.W., Suite 310
                                                Washington, D.C. 20004
                                                +1 (337) 501-8356 (Cluse), Telephone
                                                brooke@bencrump.com

                                                Attorneys for Plaintiff




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